 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            SVB Financial Group
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used              N/A
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                9 ___
                                              ___ 1 – ___
                                                       1 ___
                                                          9 ___
                                                             6 ___
                                                                2 ___
                                                                   2 ___
                                                                      7 ___
                                                                         8
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               387        Park Avenue South
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               New York                   NY       10016
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               New York
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
Debtor        SVB Financial Group
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          
                                          ✔ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best descr bes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 2 ___
                                                    3 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          
                                                          ✔   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
Debtor        SVB Financial Group
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8        /s/ James L. Bromley
                                            _____________________________________________            Date          03/17/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            James L. Bromley
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Sullivan & Cromwell LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           125         Broad Street
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            New York
                                           ____________________________________________________             NY
                                                                                                           ____________  10003
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (212)558-4000
                                           ____________________________________                             bromleyj@sullcrom.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            2333912
                                           ______________________________________________________  NY
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
    Official Form 201A (12/15)
             >,I GHEWRU LV UHTXLUHG WR ILOH SHULRGLF UHSRUWV HJ IRUPV . DQG 4 ZLWK WKH 6HFXULWLHV DQG ([FKDQJH &RPPLVVLRQ
             SXUVXDQW WR 6HFWLRQ  RU  G RI WKH 6HFXULWLHV ([FKDQJH $FW RI  DQG LV UHTXHVWLQJ UHOLHI XQGHU FKDSWHU  RI WKH
             %DQNUXSWF\ &RGH WKLV ([KLELW A$@ VKDOO EH FRPSOHWHG DQG DWWDFKHG WR WKH SHWLWLRQ@
                                                            [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

                1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
            1934, the SEC file number is 001-39154.

                2. The following financial data is the latest available information and refers to the debtor’s condition on
            December 31, 2022.
                 a. Total assets                                                      $ 19,679,000,0001

                 b. Total debts (including debts listed in 2.c., below)               $ 3,675,000,000
                 c. Debt securities held by more than 500 holders2
                                                                                                               Approximate
                                                                                                               number of
                                                                                                               holders:

                 secured   □     unsecured   ☒    subordinated     □   $   350,0003                            Not available
                 secured   □     unsecured   ☒    subordinated     □   $   650,0004                            Not available
                 secured   □     unsecured   ☒    subordinated     □   $   500,0005                            Not available
                 secured   □     unsecured   ☒    subordinated     □   $   350,0006                            Not available
                 secured   □     unsecured   ☒    subordinated     □   $   500,0007                            Not available
                 secured   □     unsecured   ☒    subordinated     □   $   500,0008                            Not available
                 secured   □     unsecured   ☒    subordinated     □   $   450,0009                            Not available



                 d. Number of shares of preferred stock                                                             383,500
                 e. Number of shares common stock                                                                59,171,883

                 Comments, if any:



                 3. Brief Description of debtor’s business: SVB Financial Group is a financial services company__
                    focusing on the innovation economy, offering financial products and services to clients across the
                    United States and in key international markets. Prior to March 10, 2023, SVB Financial Group__
                    owned and operated Silicon Valley Bank, a state-chartered bank.


1
  As of December 31, 2022, approximately $15,456,000 was attributable to the debtor’s bank subsidiary, Silicon Valley Bank.
2
  The debtor believes that its public debt may be widely held; however, the debtor is unable to determine with certainty the
number of beneficial holders for each issuance of debt securities. Out of abundance of caution, each of the debtor’s public debt
issuances is detailed herein.
3
  3.50% Senior Notes due 2025.
4
  1.800% Senior Notes due 2026.
5
  2.100% Senior Notes due 2028.
6
  4.345% Senior Fixed Rate/Floating Rate Notes due 2028.
7
  3.125% Senior Notes due 2030.
8
  1.800% Senior Notes due 2031.
9
  4.570% Senior Fixed Rate/Floating Rate Notes due 2033.
    4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor:
       The Vanguard Group
       BlackRock, Inc.
       State Street Corporation
EXHIBIT A
                               PROPOSED RESOLUTIONS TO BE ADOPTED BY
                                    THE BOARD OF DIRECTORS OF
                                       SVB FINANCIAL GROUP
                                           March 16, 2023

VOLUNTARY PETITION AND BANKRUPTCY CASE

        WHEREAS, the Board of Directors (the “Board”) of SVB Financial Group, a corporation organized
and existing under the laws of the State of Delaware (the “Company”) has reviewed and discussed the
financial and operational condition of the Company and the Company’s business, including the current
and historical performance of the Company, the assets and liquidity of the Company, the current and
long‐term liabilities of the Company and the market conditions;

        WHEREAS, the Board has received, reviewed, and discussed the recommendations of
management of the Company and the Company’s legal, financial, and other advisors as to the relative
risks and benefits of the strategic alternatives available to the Company, including a bankruptcy
proceeding (the “Bankruptcy Case”) under the provisions of Chapter 11 of Title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and has discussed the “first day” and certain
subsequent filings that would be proposed to be made by the Company in connection with the
Bankruptcy Case (the “Initial Filings”);

       WHEREAS, after review and discussion and due consideration of all of the information
presented to the Board, the Board deems it advisable and in the best interests of the Company, its
shareholders, its creditors, its subsidiaries, stakeholders, and other interested parties, for the Company
to commence the Bankruptcy Case by filing a voluntary petition for relief under the provisions of the
Bankruptcy Code (the “Petition”); and

       WHEREAS, the Board deems it advisable and in the best interests of the Company, its
shareholders, its creditors, its subsidiaries, stakeholders, and other interested parties, for the Company
to make the Initial Filings and to conduct the business of the Company as contemplated thereby;

        NOW, THEREFORE, IT IS HEREBY:

        Filing of Voluntary Petition

        RESOLVED, that having considered all relevant facts and circumstances, in the judgment of the
Board, it is desirable and in the best interests of the Company, its shareholders, its creditors, its
subsidiaries, stakeholders, and other interested parties that the Petition and the Initial Filings be filed by
the Company in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”); and

          RESOLVED, that the Company shall be, and it hereby is, authorized, directed and empowered (i)
to file the Petition and the Initial Filings and (ii) to perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper or necessary to effect the foregoing; and

          RESOLVED, that the Chief Restructuring Officer be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company to execute and verify the Petition and the
Initial Filings as well as all other ancillary documents and to cause the Petition and the Initial Filings to be
filed with the Bankruptcy Court, and to make or cause to be made prior to the execution thereof any
modifications to the Petition, the Initial Filings, or any ancillary documents, and to execute, verify and
file or cause to be filed all petitions, schedules, lists, motions, applications and other papers or
documents, agreements, deeds, letters, instruments or certificates necessary or desirable in connection
with any of the foregoing; and

        RESOLVED, that the law firm of Sullivan & Cromwell LLP (“S&C”) be, and hereby is, authorized,
empowered and directed to represent the Company as its general bankruptcy counsel in connection
with the Bankruptcy Case, to represent and assist the Company in carrying out its duties under the
Bankruptcy Code and to take any and all actions to advance the Company’s rights, including the
preparation of pleadings and filings in the Bankruptcy Case; and in connection therewith, the Chief
Restructuring Officer be, and hereby is, authorized, directed and empowered, on behalf of and in the
name of the Company to execute appropriate retention agreements, pay appropriate retainers prior to
and immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of S&C; and

        RESOLVED, that the investment bank of Centerview Partners LLC (“Centerview”) be, and hereby
is, engaged to provide investment banking and other related services to the Company in the Bankruptcy
Case; and in connection therewith, the Chief Restructuring Officer be, and hereby is, authorized,
directed and empowered, on behalf of and in the name of the Company to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain the services
of Centerview; and

        RESOLVED, that the firm of Alvarez & Marsal North America LLC (“A&M”) be, and hereby is,
engaged to provide restructuring advice and other related services to the Company in the Bankruptcy
Case; and in connection therewith, the Chief Restructuring Officer be, and hereby is, authorized,
directed and empowered, on behalf of and in the name of the Company, to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain the services
of A&M; and

          RESOLVED, that the firm of Kroll Restructuring Administration LLC (“Kroll”) be, and hereby is,
engaged to act as notice, claims and balloting agent and to provide other related services to the
Company in the Bankruptcy Case; and in connection therewith, the Chief Restructuring Officer be, and
hereby is, authorized, directed and empowered, on behalf of and in the name of the Company, to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain
the services of Kroll; and

        RESOLVED, that, the Chief Restructuring Officer be, and hereby is, authorized to cause the
Company to employ other special counsel, financial advisors, investment bankers, accountants,
restructuring advisors, notice, balloting and claims agents and other professionals as appropriate in
connection with the Bankruptcy Case and all related matters.

        General Authority and Implementing Resolutions
        RESOLVED, that the necessity, advisability and appropriateness of any action taken, any
approval given or any amendment or change to any document or agreement made by the Chief
Restructuring Officer pursuant to the authority granted under these resolutions shall be conclusively
evidenced by the taking of any such action, or the execution, delivery or filing of any such document or
agreement;

        RESOLVED, that the Board hereby adopts and incorporates by reference any form of specific
resolution not inconsistent with these resolutions to carry into effect the purpose and intent of the
foregoing resolutions, or covering authority including in matters authorized in the foregoing resolutions,
including forms of resolutions in connection therewith that may be required by a trustee, the SEC, the
Federal Deposit Insurance Corporation, the Federal Reserve, the California Department of Financial
Protection and Innovation, the NASDAQ, the Financial Industry Regulatory Authority or any state or
other institutions, person, agency or governmental authority (collectively, “Governmental Entities”),
and the Secretary of the Company is hereby directed to insert a copy thereof in the minute book of the
Company following the minutes of this meeting and certify the same as duly adopted thereby;

         RESOLVED, that the Chief Restructuring Officer is hereby authorized and empowered to
perform, or cause to be performed, all such acts, deeds and things to make, execute and deliver, or
cause to be made, executed and delivered, all such agreements, undertakings, documents, instruments
or certificates in the name and on behalf of the Company or otherwise as the Chief Restructuring Officer
may deem necessary, advisable or appropriate to effectuate or carry out fully the purpose and intent of
the foregoing resolutions, including with respect to any filings, submissions or notices that may be
required by any Governmental Entities with respect to the matters addressed herein; and

        RESOLVED, that all acts and deeds heretofore done in connection with the actions
contemplated in the above resolutions by any officer or director of the Company for or on behalf of the
Company in entering into, executing, acknowledging or attesting any arrangements, agreements,
instruments or documents, or in carrying out the terms and intentions of the above resolutions are
hereby ratified, approved and confirmed in all respects.


                                                 ****
